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 1 [COUNSEL LISTED ON SIGNATURE PAGE]

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                                UNITED STATES DISTRICT COURT
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               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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     HUAWEI TECHNOLOGIES CO., LTD., et al.,     CASE NO. 16-cv-02787-WHO
 9
                  Plaintiffs,                   STIPULATION AND [PROPOSED]
10                                              ORDER OF DISMISSAL, WITHOUT
          v.                                    PREJUDICE, OF HUAWEI’S
11                                              SECOND CAUSE OF ACTION FOR
     SAMSUNG ELECTRONICS CO., LTD., et al.,     DECLARATORY JUDGMENT OF
12                                              FRAND TERMS AND CONDITIONS
                  Defendants.                   FOR CROSS-LICENSE (COUNT II),
13                                              PURSUANT TO FRCP 15(a)(2)
14 SAMSUNG ELECTRONICS CO., LTD. &              Hearing Date: July 18, 2018
   SAMSUNG ELECTRONICS AMERICA, INC.,           Time: 2:00 p.m.
15                                              Place: Courtroom 2, 17th Floor
         Counterclaim-Plaintiffs,               Judge: Hon. William H. Orrick
16
      v.
17
   HUAWEI TECHNOLOGIES CO., LTD.,
18 HUAWEI DEVICE USA, INC., HUAWEI
   TECHNOLOGIES USA, INC. & HISILICON
19 TECHNOLOGIES CO., LTD.,

20          Counterclaim-Defendants.
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 1         Plaintiffs and Counterclaim-Defendants Huawei Technologies Co., Ltd., Huawei Device

 2 USA, Inc., and Huawei Technologies USA, Inc. (collectively “Huawei”), and Defendants and

 3 Counterclaim-Plaintiffs Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and

 4 Samsung Research America, Inc. (collectively “Samsung”) would like to inform the Court that they

 5 have reached an agreement on a stipulation to dismiss, without prejudice, pursuant to Rule 15(a)(2),

 6 Huawei’s Second Cause of Action seeking a declaration of the terms and conditions for a FRAND

 7 cross-license under the parties’ portfolios of patents essential to the 3GPP UMTS (3G) and LTE

 8 (4G) standards (“Count II”). See Dkt. 1 at ¶¶ 61-68 (Second Cause of Action); id. at Prayer for

 9 Relief, B.

10         The parties further agree the below stipulation will dispose of Samsung’s pending Motion

11 for Judgment on the Pleadings Regarding Huawei’s Cause of Action for Declaratory Judgment of

12 FRAND Terms and Conditions for a Cross-License (Dkt. 303).

13         IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for the parties

14 that:

15         1. Huawei agrees to dismiss, without prejudice, pursuant to Rule 15(a)(2), Count II of the

16              Complaint, which sought a declaratory judgment setting the terms and conditions of a

17              cross-license to the parties’ portfolios of 3G and 4G standard essential patents, and will
18              not otherwise ask the Court in this action to set the terms and conditions of a cross-
19              license, or a one-way license, to either parties’ U.S. or global portfolios of 3G and 4G

20              standard essential patents.

21         2. Huawei will not file any action in the U.S. seeking a declaration of the terms and

22              conditions that would be FRAND for either a one-way or cross license to the parties’

23              global or U.S. portfolios of SEPs for a period of no less than nine (9) months following

24              the date of this stipulation

25         3. Both parties will reserve their positions regarding what evidence, if any, may be admitted

26              at trial relating to Huawei’s Count II.

27         4. This agreement does not prevent Huawei from seeking admission of evidence or

28              argument that it offered to submit the parties’ dispute to a third-party arbitrator. Nor

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 1         does this agreement prevent Samsung from seeking, via motion in limine or otherwise,

 2         to exclude evidence or argument that Huawei offered to submit the parties’ dispute to a

 3         third-party arbitrator, based on Rule 403 or other authority or argument. However,

 4         Samsung agrees that it will not reference Huawei’s Count II, or the dismissal, without

 5         prejudice, thereof, as a basis to support the exclusion of evidence or argument that

 6         Huawei offered to submit the parties’ dispute to a third-party arbitrator.

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 1   DATED: July 17, 2018                          Respectfully Submitted,

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     By: /s/ Michael J. Bettinger (with permission) By:   /s/ Victoria F. Maroulis
 3

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      Attorneys for Huawei Technologies Co., Ltd., Attorneys for Samsung Electronics Co., Ltd.,
19    Huawei Device USA, Inc., Huawei              Samsung Electronics America, Inc., and
      Technologies USA, Inc., and HiSilicon        Samsung Research America, Inc.
20    Technologies Co., Ltd.

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 1 PURSUANT TO STIPULATION, IT IS SO ORDERED.

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                    July 18 2018
     DATED: _______________,           The Honorable William H. Orrick
 5                                     United States District Court Judge
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 1                                          ATTESTATION
 2         I, Victoria F. Maroulis, am the ECF user whose ID and password are being used to file the

 3 above stipulation. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the

 4 filing of the document has been obtained from its signatory.

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 6                                                      /s/ Victoria F. Maroulis
                                                        Victoria F. Maroulis
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                                                  STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
